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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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MILTON WILLIAMS, on behalf of himself and all’: BAY ne

other persons similarly situated, oe Novy 5 pear .
Plaintiff, . |

ORDER
against: 21 Civ. 2209 (GBD\(RWL)

MAC AND SONS, INC., and JUSTIN HENKE

d/b/a HENKE FOODS,
Defendants.

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GEORGE B. DANIELS, United States District Judge:

This Court having been advised that the parties have reached agreement on all issues in
this matter, the Clerk of Court is hereby ORDERED to close the above-captioned action, without
prejudice to restoring the action to this Court’s docket if an application to restore is made within
forty-five (45) days.

Dated: November 3001”

New York, New York

SO ORDERED.

Snap & Donel

GGOR B. DANIELS
ited States District Judge
